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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

MICHAEL A. CRABTREE, as CHIEF EXECUTIVE                     )
OFFICER OF THE CENTRAL PENSION FUND                         )
OF THE INTERNATIONAL UNION OF OPERATING                     )
ENGINEERS AND PARTICIPATING EMPLOYERS                       )
4115 Chesapeake Street, N.W.                                )
Washington, D.C. 20016,                                     )
                                                            )
                                     Plaintiff,             )
                                                            )
                     v.                                     )
                                                            )
STEWARD HEALTH CARE SYSTEM LLC                              )C O M P L A I N T
d/b/a Carney Hospital                                       )
d/b/a Norwood Hospital                                      )
d/b/a St. Elizabeth’s Medical Center                        )
d/b/a Morton Hospital                                       )
d/b/a Holy Family Hospital                                  )
d/b/a Nashoba Valley Medical Center                         )
1900 N. Pearl Street, Suite 2400                            )
Dallas, Texas 75201-2470,                                   )
                                                            )
       Serve: CT Corporation System                         )
              1999 Bryan Street, Suite 900                  )
              Dallas, Texas 75201,                          )
                                                            )
                                     Defendant.             )

                                    COMPLAINT

              (TO COLLECT CONTRIBUTIONS AND DAMAGES
                  DUE TO EMPLOYEE PENSION BENEFIT
                   FUND AND FOR EQUITABLE RELIEF)

       Plaintiff, pursuant to Federal Rule of Civil Procedure 8(a), hereby alleges the

following:

                                       PARTIES

       1.     Plaintiff, Michael A. Crabtree, is the Chief Executive Officer of the Central

Pension Fund of the International Union of Operating Engineers and Participating
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Employers (hereinafter "Central Pension Fund").        The Central Pension Fund is an

employee pension benefit plan as that term is defined in Section 3(2) of the Employee

Retirement Income Security Act of 1974 ("ERISA"), 29 U.S.C. § 1002(2). The Central

Pension Fund is a multiemployer plan as that term is defined in Section 3(37) of ERISA,

29 U.S.C. § 1002(37). The Central Pension Fund was established and is maintained in

accordance with its Restated Agreement and Declaration of Trust. The Central Pension

Fund is administered by the Trustees at 4115 Chesapeake Street, N.W., Washington, D.C.

20016. The Plaintiff, Michael A. Crabtree, Chief Executive Officer of the Central Pension

Fund, is a designated fiduciary in accordance with the Central Pension Fund's Restated

Agreement and Declaration of Trust and as defined in Section 3(21) of ERISA, 29 U.S.C.

§ 1002(21). The Central Pension Fund is funded as required by collective bargaining

agreements between participating employers and local unions affiliated with the

International Union of Operating Engineers.

       2.      Defendant Steward Health Care System LLC d/b/a Carney Hospital d/b/a

Norwood Hospital d/b/a St. Elizabeth’s Medical Center d/b/a Morton Hospital d/b/a Holy

Family Hospital d/b/a Nashoba Valley Medical Center is a Delaware limited liability

company registered as a foreign limited liability company in Texas, located at 1900 N. Pearl

Street, Suite 2400 in Dallas, Texas 75201-2470, and at all times relevant to this action has

been an “employer in an industry affecting commerce” as defined in Sections 3(5), (9), (11),

and (12) of ERISA, 29 U.S.C. §§ 1002(5), (9), (11) and (12), and Section 3 of the Multi-

Employer Pension Plan Amendments Act of 1980, 29 U.S.C. § 1001a.




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                             JURISDICTION AND VENUE

       3.      This is an action to collect contributions due to an employee benefit plan under

the terms of a collective bargaining agreement and a trust agreement. This Court has subject

matter jurisdiction under §§ 502(a)(3), (g) and 515 of ERISA, 29 U.S.C. §§ 1132(a)(3), (g)

and 1145.

       4.      This Court has personal jurisdiction over the Defendants pursuant to Section

502 of ERISA, 29 U.S.C. § 1132(e)(2).

       5.      Venue is proper in this district pursuant to Section 502(e)(2) of ERISA, 29

U.S.C. § 1132(e)(2).

                                          FACTS

       6.      The Defendant has been bound at all relevant times to Collective Bargaining

Agreements with the Area Trades Council, a group of labor organizations that includes

International Union of Operating Engineers Local Union No. 877 (“Agreements”), that

govern the wages, benefits and terms and conditions of employment of certain employees

performing work for the Defendant within the jurisdiction of Local Union No. 877 at the

following hospitals owned and operated by the Defendant: Carney Hospital, located at 2100

Dorchester Avenue, in Dorchester, Massachusetts; Norwood Hospital, located at 800

Washington Street, in Norwood, Massachusetts; St. Elizabeth’s Medical Center, located at

736 Cambridge Street, in Brighton, Massachusetts; Morton Hospital, located at 88

Washington Street, and 2005 Bay Street, in Taunton, Massachusetts; Holy Family Hospital,

located at 70 East Street, in Methuen, Massachusetts; and Nashoba Valley Medical Center,

located at 200 Groton Road, in Ayer, Massachusetts (collectively “Hospital Systems”).




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       7.      Pursuant to the Agreements the Defendant agreed to report and pay certain

sums of money each month to the Central Pension Fund for hours worked by employees

of the Defendant performing work covered by the Agreements at the Hospital Systems.

       8.      During the period of February 2020 through the present, the Defendant

employed employees performing work covered by the Agreements at each of the Hospital

Systems.

       9.      During various months within the period February 2020 through the present,

the Defendant has failed to report and pay all contributions due to the Central Pension Fund

for work performed at each of the Hospital Systems as required by the Agreements and the

Central Pension Fund’s Restated Agreement and Declaration of Trust.

       10.     During the periods February 2020, May 2020, and July 2020 through the

present, the Defendant has failed to report and pay all contributions for work performed at the

Carney Hospital which is covered by the Agreements.

       11.     During the periods February 2020, April 2020, May 2020, and July 2020

through the present, the Defendant has failed to report and pay all contributions for work

performed at the Norwood Hospital which is covered by the Agreements.

       12.     During the period August 2020 through the present, the Defendant has failed

to report and pay all contributions for work performed at the St. Elizabeth’s Medical Center

which is covered by the Agreements.

       13.     During the periods February 2020, April 2020, and July 2020 through the

present, the Defendant has failed to report and pay all contributions for work performed at the

Morton Hospital which is covered by the Agreements.




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        14.     During the periods February 2020, April 2020, May 2020, and July 2020

through the present, the Defendant has failed to report and pay all contributions for work

performed at the Holy Family Hospital which is covered by the Agreements.

        15.     During the periods February 2020, April 2020, May 2020, and July 2020

through the present, the Defendant has failed to report and pay all contributions for work

performed at the Nashoba Valley Medical Center which is covered by the Agreements.

        16.     Pursuant to the Central Pension Fund's Restated Agreement and Declaration

of Trust an employer who fails pay all required contributions is liable for liquidated damages

in the amount of 20% of the total contributions owed.

        17.      Pursuant to the Central Pension Fund's Restated Agreement and Declaration

of Trust an employer who fails to pay all required contributions in a timely manner is liable

for interest at the rate of 9% per annum.

        18.     Pursuant to the Central Pension Fund's Restated Agreement and Declaration

of Trust an employer who fails to pay required contributions is liable for all attorneys' fees

and costs.

                                            COUNT I

                (UNREPORTED AND UNPAID CONTRIBUTIONS AND
              OTHER AMOUNTS OWED TO EMPLOYEE BENEFIT FUND)

        19.     Plaintiff hereby restates and incorporates by reference the allegations set forth

in paragraphs 1 through 18 as if fully set forth in this Count I.

        20.     Because the Defendant has failed to comply with its contractual duty to

submit reports and contributions, the Central Pension Fund cannot determine the exact

amount of contributions due by the Defendant for covered work performed at Carney

Hospital during the periods February 2020, May 2020, and July 2020 through the present.



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       21.     Because the Defendant has failed to comply with its contractual duty to

submit reports and contributions, the Central Pension Fund cannot determine the exact

amount of contributions due by the Defendant for covered work performed at Norwood

Hospital during the periods February 2020, April 2020, May 2020, and July 2020 through

the present.

       22.     Because the Defendant has failed to comply with its contractual duty to

submit reports and contributions, the Central Pension Fund cannot determine the exact

amount of contributions due by the Defendant for covered work performed at St.

Elizabeth’s Medical Center during the period August 2020 through the present.

       23.     Because the Defendant has failed to comply with its contractual duty to

submit reports and contributions, the Central Pension Fund cannot determine the exact

amount of contributions due by the Defendant for covered work performed at Morton

Hospital during the periods February 2020, April 2020, and July 2020 through the present.

       24.     Because the Defendant has failed to comply with its contractual duty to

submit reports and contributions, the Central Pension Fund cannot determine the exact

amount of contributions due by the Defendant for covered work performed at Holy Family

Hospital during the periods February 2020, April 2020, May 2020, and July 2020 through

the present.

       25.     Because the Defendant has failed to comply with its contractual duty to

submit reports and contributions, the Central Pension Fund cannot determine the exact

amount of contributions due by the Defendant for covered work performed at Nashoba

Valley Medical Center during the periods February 2020, April 2020, May 2020, and July

2020 through the present.




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       26.     The Central Pension Fund is entitled to judgment in the form of a Court

Order requiring the Defendant to submit all outstanding remittance reports and unpaid

contributions for work performed at the Hospital Systems which is covered by the

Agreements during various months within the period February 2020 through the date of

judgment as detailed herein.

       27.     By virtue of the failure to pay contributions as contractually required, the

Defendant is in contravention of the Agreements and the obligations under the Central

Pension Fund’s Restated Agreement and Declaration of Trust, and Section 515 of ERISA.

       28.     The Defendant has failed to pay liquidated damages and interest for unpaid

contributions owed to the Central Pension Fund.

       29.     The Central Pension Fund is therefore additionally entitled to judgment for

all liquidated damages and interest owed on unreported and unpaid contributions, plus costs

and attorneys' fees to the date of judgment.

       30.     The Central Pension Fund will seek a judgment in this action against the

Defendant for all contributions, interest, liquidated damages and attorneys’ fees and costs

which become due, or are estimated to be due, subsequent to the filing of this action, during

the pendency of this action, and up to the date of judgment.

       WHEREFORE, the Plaintiff prays judgment against the Defendant as follows:

       A.      For a Court Order requiring the Defendant to submit all outstanding

remittance reports for work performed at the following Hospital Systems, during the

following periods:

               1.      Carney Hospital during the periods February 2020, May 2020, and

       July 2020 through the date of judgment;




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               2.       Norwood Hospital during the periods February 2020, April 2020, May

       2020, and July 2020 through the date of judgment;

               3.       St. Elizabeth’s Medical Center during the period August 2020 through

       the date of judgment;

               4.       Morton Hospital during the periods February 2020, April 2020, and

       July 2020 through the date of judgment;

               5.       Holy Family Hospital during the periods February 2020, April 2020,

       May 2020, and July 2020 through the date of judgment; and

               6.       Nashoba Valley Medical Center during the periods February 2020,

       April 2020, May 2020, and July 2020 through the date of judgment.

       B.      For unpaid contributions due and owing to the Central Pension Fund during

the period of February 2020 through the date of judgment for unreported work performed

pursuant to the Agreements as detailed herein.

       C.      For liquidated damages, and interest for any late paid and unpaid contributions

owed as provided for in the Agreement and Restated Agreement and Declaration of Trust and

pursuant to 29 U.S.C. § 1132(g)(2) through the date of judgment.

       D.      For such contributions, interest, and liquidated damages that may accrue

and/or are found to be due and owing to the Central Pension Fund subsequent to the filing of

this Complaint, during the pendency of this action, and up to the date of judgment pursuant to

the Agreements, Restated Agreement and Declaration of Trust, and 29 U.S.C. § 1132(g)(2).

       E.      For Costs and reasonable attorneys' fees as required by 29 U.S.C. §

1132(g)(2), the Agreements, and the Restated Agreement and Declaration of Trust through

the date of judgment.




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       F.     Such further relief as the Court deems appropriate.



                                             Respectfully submitted,

Dated: January 14, 2021                      O’DONOGHUE & O’DONOGHUE LLP
                                             5301 Wisconsin Avenue, N.W., Suite 800
                                             Washington, D.C. 20015
                                             Telephone: (202) 362-0041
                                             Facsimile: (202) 362-2640
                                             cgilligan@odonoghuelaw.com

                                     By:     /s/ Charles W. Gilligan
                                             Charles W. Gilligan (Bar No. 394710)

                                             Attorneys for the Plaintiffs




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                            CERTIFICATE OF SERVICE

       I hereby certify that I caused a true and correct copy of the foregoing Complaint to

be served by certified mail in accordance with the requirements of Section 502(h) of the

Employee Retirement Income Security Act of 1974, 29 U.S.C. § 1132(h) this 14th day of

January, 2021, on the following:

              The Office of Division Counsel
              Associate Chief Counsel (TE/GE) CC:TEGE
              Room 4300
              1111 Constitution Avenue
              Washington, D.C. 20224

              Secretary of Labor
              200 Constitution Ave., N.W.
              Washington, D.C. 20210

              Attention: Assistant Solicitor for
                       Plan Benefits Security

                                                    /s/ Charles W. Gilligan
                                                        Charles W. Gilligan
